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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

JANE DOE, et al.,

                        Plaintiffs,

v.
                                                         Case No.: 1:25-cv-00286-RCL
PAMELA BONDI, in her official capacity as
Attorney General of the United States;
WILLIAM LOTHROP, in his official
capacity as Acting Director of the Federal
Bureau of Prisons,

                        Defendants.


             PLAINTIFFS’ MOTION TO PROCEED UNDER PSEUDONYMS

        Plaintiffs, by and through their attorneys, hereby seek authorization to proceed under

pseudonyms in the above-captioned matter. In light of their status as incarcerated transgender

women, the importance of sensitive medical information in this case, and the salience of this

issue in the news media, Plaintiffs are concerned about the social stigmatization, harassment,

retaliation, discrimination, and potential violence they may experience from others, including

those in and out of prison, that could cause them physical (including sexual) and/or mental harm

if their identities are disclosed to the public. Plaintiffs thus respectfully request that this Court

grant Plaintiffs’ motion to proceed under a pseudonym.


Dated: February 21, 2025                                /s/ Eve L. Hill
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